                       Anti-Discrimination Center, Inc.
                                        “One Community, No Exclusion”




                                                              March 8, 2021



Hon. Laura Taylor Swain
United States District Judge
U.S. District Court for the Southern District of New York
500 Pearl Street
New York, New York 10007

                 Re:      Summary judgment briefing now complete; link available
                          Noel and Senat v. City of New York, 15-CV-5236 (LTS) (KHP)

Your Honor:

       With the filings by plaintiffs made earlier today (ECF 946 - ECF 949), briefing in
connection with plaintiffs’ motion for partial summary judgment and defendant’s cross-motion for
summary judgment is now complete.

         A link to copies of all papers1 will be forwarded to Chambers along with a courtesy copy
of this letter.

         On the following pages, I provide a listing of the filings.



                                                              Respectfully submitted,

                                                              Craig Gurian
                                                              Craig Gurian
                                                              Co-Counsel for Plaintiffs




1
  In two cases, redacted filings had been supplanted by non-redacted filings. Only the non-redacted filings are being
referenced or provided.

                      250 Park Avenue, 7th Floor, New York, New York 10177 212-537-5824
                                           Listing of filings

This listing is organized is seven sections, the first six relating to the cross-motions, and the seventh
relating to defendant’s motion to exclude Professor Orfield. It corresponds to the folders and files
contained with those folders found at the link provided.

The sixth section represents the papers filed today.

When one clicks on the link provided, selects “download all,” downloads the zipped file, and then
expands that file, the folders will appear in numerical order if the downloads folder is sorted by
name.

1. P motion for partial SJ

1A      ECF 881         P notice of motion
1B      ECF 881-1       P 56.1 statement (“P56.1”)
1C      ECF 882         P memorandum of law (“PI Brief”)
1D      ECF 883         Beveridge declaration, part 1 – declaration & exhibits (“BD”)
1E      ECF 884         Beveridge declaration, part 2 – sources and methodology appendix
1F      ECF 885         Gurian declaration

2. D opp to P motion, D cross-motion for SJ

2A      ECF 896         D notice of cross-motion
2B      ECF 897         Siskin declaration (“SD”)
2C      ECF 898         Goetz declaration (“Goetz Aug. 2020 Dec”)
2D      ECF 899         Been declaration (“Been Aug. 2020 Dec”)
2E      ECF 900         Brown declaration
2F      ECF 901         D responses and objections to P56.1 statement (“P56.1DR”)
2G      ECF 902         D memorandum of law (“DOX Brief”)
2H      ECF 903         Polifione declaration, part 1, with exhibits
2I      ECF 904         D 56.1 statement (“D56.1”)
2J      ECF 905         Polifione declaration, part 2 (exhibits found in Item 2K)
2K      ECF 905-1
        to 905-26       Exhibits to Polifione declaration, part 2

3. P reply to D opp; P opp to D cross-motion

3A      ECF 928         P memorandum of law, unredacted per ECF 926 order (“PRO Brief”)
3B      ECF 913         Orfield declaration (“Orfield Oct. 2020 Dec”)
3C      ECF 914         Beveridge declaration (“BROD”)
3D      ECF 915         Gurian legislative materials declaration (“Gurian LM Dec”)
3E      ECF 917         P objections and responses to D56.1 statement (“D56.1PR”)
3F      ECF 927         Maldonado declaration, unredacted per ECF 926 order (“MD”)

4. Lawyers’ Committee amicus

4A      ECF 935         Lawyer’s Committee Amicus (“LC Brief”)
                                                   2
                                        (continued next page)


5. D reply to P opp to D cross-motion

5A     ECF 939        Siskin declaration (“SD 2021”)
5B     ECF 940        Goetz declaration (“EG 2021”)
5C     ECF 941        D memorandum of law (“DREP Brief”)
5D     ECF 943        Polifione declaration

6. P sur-reply

6A     ECF 946        Maldonado declaration (“MD 2021”)
6B     ECF 947        Krysan declaration (“MK”)
6C     ECF 948        Beveridge declaration (“BD 2021”)
6D     ECF 949        P memorandum of law in sur-reply (“PS Brief”)



7. D motion to exclude Professor Orfield

7A     ECF 893        D notice of motion to exclude Professor Orfield
7B     ECF 894        Dalal declaration in support
7C     ECF 895        D memorandum of law in support

7D     ECF 920        P memorandum of law in opposition
7E     ECF 921        Gregorio declaration in opposition

7F     ECF 942        D reply memorandum of law in support




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